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                                  IPP International U.G. Declaration Exhibit A
                                   File Hashes for IP Address 65.79.146.117

ISP: RCN Corporation
Physical Location: Chicago,	IL



Hit	Date	UTC	           File	Hash	                                Title	
05/28/2018	16:57:05	    1A9D4E8C411AFD56DEA2EDF8D436529088D11C22	 Purely	Perfect	Pink	

01/30/2018	03:52:58	    E9B3F020F65BBD3963D8FB2184CF8327F40E6DE1	         X	Marks	The	Spot	

12/14/2017	23:38:38	    A0D102FB61F97BFE7B935492643E2313944FDBD2	         Five	Reasons	to	Love	Sex	with	Blondes	

11/20/2017	19:41:49	    02AD002BAFF9F5B366FD490E21A89CFF6D960F15	         Fill	Her	Up	

11/13/2017	02:08:52	    6D71663E4DB88AD206191297B1EA7AE85F18C39F	         Would	You	Fuck	My	Girlfriend	

11/01/2017	00:29:58	    5F524DF15759705BDA6D385631FD6ACDE6D080CD	 The	Tightest	Blonde	

09/18/2017	16:48:27	    704944F18AD93159DCCF636671BF0F9024620B8F	         Piano	Concerto	

08/21/2017	19:22:34	    673AA4B478E333C74CF467AD24467FFB206B7019	         Emerald	Love	


Total Statutory Claims Against Defendant: 8




                                                  EXHIBIT A
NIL862
